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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                ________________________

UNITED STATES OF AMERICA,

       Plaintiff,                                            Case No. 1:01-CR-238

v.                                                           Hon. Richard Alan Enslen

UNITED MEMORIAL HOSPITAL,


      Defendant.
__________________________________/

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__________________________________/


                                   [PROPOSED] ORDER
                             (Re Defendant’s Motion Requesting
                           That Certain Documents Remain Sealed)


               Defendant Spectrum Health—United Memorial f/k/a United Memorial Hospital

(“SHUM”) has moved for an order requesting the court to maintain a seal on five pleadings filed

under seal with the court. The documents contain information about medical treatment provided

to individually identified patients, or details of unsubstantiated allegations of wrongdoing about a
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SHUM employee. Public policy favors maintaining these documents under seal, and the privacy

considerations outweigh the negligible benefits to the public in unsealing these documents.

                THEREFORE, IT IS HEREBY ORDERED that the Defendant’s Motion

Requesting that Certain Documents Remain Sealed is GRANTED and the following documents

shall remain sealed:

    •    United States’ Response in Opposition to United Memorial Hospital’s Renewed Motion
         for Return of Patient Information Under Rule of Criminal Procedure 41(e) (docket
         number 5).

    •    United Memorial Hospital’s Motion to Compel (docket number 251).

    •    United Memorial Hospital’s Motion to Compel Government’s Compliance With the
         Terms of the Court’s Sanctioned Plea Agreement and to Preclude Government’s Attempt
         to Impose Additional Post-Agreement Conditions Upon Defendant (docket number 258).

    •    United States’ Sealed Sur Reply in Response to United Memorial’s Motion to Compel
         Compliance with the Plea Agreement and Exhibit 1 to United States’ Sealed Sur Reply
         In Response to United Memorial’s Motion to Compel Compliance with Plea Agreement
         (docket number 264).



        June 28, 2006                        /s/ Richard Alan Enslen
                                             Hon. Richard Alan Enslen
                                             Senior United States District Judge


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